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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS — E ©

WESTERN DIVISION

20 2019
UNITED STATES, ) SEP
EW, KENNELLY
Plaintiff, } No. 19 CR 50016 atta STATES DISTRICT COURT
Vv. )
) Judge Matthew Kennelly
FLOYD E. BROWN, )
Defendant. )

AGREED BRIEFING SCHEDULE FOR DEFENDANT’S
MOTION FOR DISCLOSURE OF ELECTRONIC TRACKING INFORMATION
AND WARRANTS

The parties agree that the Government’s Answer to Defendant’s MOTION
FOR DISCLOSURE OF ELECTRONIC TRACKING INFORMATION AND

WARRANTS is due on October 31, 2019, and Defendant’s Reply is due on
November 13, 2019.

 

 

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